             Case 20-03841                Doc       Filed 04/27/20         Entered 04/27/20 15:08:29                         Desc Main
                                                        Document           Page 1 of 9
Fill in this information to identify the case:

Debtor 1                   Ruby J. Adams
Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:                   Northern          District of      Illinois
                                                                                          (State)

Case number              20-03841



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                               12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

      Name of creditor:        PHH Mortgage Corporation                                             Court claim no. (if known):   3

      Last 4 digits of any number you use to
      Identify the debtor’s account:                 5006

      Does this notice supplement a prior notice of postpetition fees,
      expenses, and charges?
       No
       Yes. Date of the last notice: _____/_____/_____



Part 1:               Itemize Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.

         Description                                                      Dates incurred                                     Amount
1.       Late Charges                                                                                                 (1)
2.       Non-sufficient funds (NSF) fees                                                                              (2)
                                                                          $250.00 02/18/20 (PLAN
                                                                          REVIEW); $550.00 03/17/20
                                                                          (OBJECTION TO
                                                                          CONFIRMATION); $150.00
                                                                          04/27/20 (POST PETITION FEE
3.       Attorney Fees                                                    NOTICE);                                    (3)    $950.00
4.       Filing fees and court costs                                                                                  (4)
                                                                          $700.00 03/11/20 (PROOF OF
                                                                          CLAIM); $250.00 03/11/20 (410A
5.       Bankruptcy/Proof of claim fees                                   POC PAY HISTORY);                           (5)    $950.00
6.       Appraisal/Broker’s price opinion fees                                                                        (6)
7.       Property inspection fees                                                                                     (7)
8.       Tax Advances (non-escrow)                                                                                    (8)
9.       Insurance advances (non-escrow)                                                                              (9)
         Property preservation expenses.
10.      Specify:________________                                                                                     (10)
         Other.
11.      Specify:_____________________________________                                                                (11)
         Other.
12.      Specify:_____________________________________                                                                (12)
         Other.
13.      Specify:_____________________________________                                                                (13)
         Other.
14.      Specify:_____________________________________                                                                (14)

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1

Official Form 410S2                            Notice of Postpetition Mortgage Fees, Expenses, and Charges                               page 1
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Debtor 1               Ruby J. Adams                                                        Case number (if known)   20-03841
                      First Name     Middle Name          Last Name



Part 4:         Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best
of my knowledge, information, and reasonable belief.




                  x     /s/ Brenda Likavec                                                         Date        4/27/2020
                        Signature



Print                   Brenda Likavec                                                             Title      Attorney for Creditor
                        First Name          Middle Name               Last Name



Company                 Codilis & Associates, P.C.


Address                 15W030 North Frontage Road, Suite 100
                        Number         Street

                        Burr Ridge                        IL               60527
                        City                               State           ZIP Code



Contact phone           (630) 794-5300                                                             Email      ND-One@il.cslegal.com

                                                                                                                                       File #14-18-10329




Official Form 410S2                               Notice of Postpetition Mortgage Fees, Expenses, and Charges                              page 2
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B 10 (Supplement 2) (12/11)




                                                CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that I have served a copy of this Notice upon the parties
listed below, as to the Trustee and Debtor's attorney via electronic notice on April 27, 2020 and as to the
debtor by causing same to be mailed in a properly addressed envelope, postage prepaid, from 7140 Monroe
Street, Willowbrook, IL 60527 before the hour of 5:00 PM on April 27, 2020.

Marilyn O Marshall, Chapter 13 Trustee, 224 South Michigan Ste 800, Chicago, IL 60604 by electronic notice
through ECF
Ruby J. Adams , Debtor(s), 121 E. 87th Street, Chicago, IL 60619
Jessica A. Boone, Attorney for Debtor(s), 20 S. Clark Street, 28th Floor , Chicago, IL 60603 by electronic
notice through ECF
Office of U.S. Trustee, 219 S. Dearborn St., Room 873, Chicago, IL 60604 by electronic notice through ECF




                                                            /s/ Brenda Likavec


Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Brenda Ann Likavec ARDC#6330036
Karl V. Meyer ARDC#6220397
Grant W. Simmons ARDC#6330446
Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527
(630) 794-5300)
 C&A File #14-18-10329

NOTE: This law firm is a debt collector.
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                                                            Codilis & Associates, P.C.
                                                        15W030 North Frontage Road Suite 100
PERSONAL INFORMATION REDACTED                                     Burr Ridge, IL 60527
                                                              Phone No: (630) 794-9690
                                                               Fax No: (630) 794-5143



                                        Bankruptcy - Bankruptcy Services - INVOICE
    PHH Mortgage                                                        Invoice #:
    Andrea Jenkins                                                      Invoice Status:               ACH Confirmed
    2001 Bishops Gate Blvd                                              Input By:                     Christina Delesio
    Mount Laurel, NJ 08054                                              Date Submitted:               2/19/2020
    Re:                   ADAMS RUBY J                                  Invoice Date:                 2/18/2020
                          121E 87TH ST
                                                                        Vendor Ref #:
                          CHICAGO, IL 60619 6624
                                                                        Vendor Code:
    Loan #:
    Loan Type:         FannieMae                                        Payee Code:                   FCODIL
    Inv. ID / Cat. ID:                                                  Type:                         Non Judicial
    Cost Center:                                                        Referral Date                 2/14/2020
    CONV-FN Case No:
    GSE Code:
                                                                        Acquisition Date:
    GSE REO Rem. Code:
                                                                        Paid in Full Date:            N/A
                                                                        Foreclosure Removal           N/A
    Original Mortgage Amount:    $66,000.00                             HiType                        1
    Litigation Status Code:                                             Class Code
    Man Code:
     BK Case No:          20-03841
     BK Chapter:          13




     Invoice ID:
     Asset Number:
     Outsourcer:

     SubmittedDate         1st Reviewed Date      Last Reviewed      Accepted Date          Approved Date     Chk Requested           Chk Confirmed
          2/19/2020             3/5/2020              3/5/2020                                3/5/2020           3/6/2020               3/10/2020

      Fee Description(s)                                   W/H Aff.Ind Item Date          Qty    Item Price       Orig. Billed        Adjust           Net

      Attorney Fees - Plan Review Fee                                   02/18/2020         1       $250.00           $250.00           $0.00      $250.00

          Note: Plan Review Recoverable provided you file any required post-petition fee notice within 180 days of the charge being incurred in
          accordance with BK Rule 3002.1. - Recoverable from the borrower
          Service From Date: 2/18/2020                    Service To Date: 2/18/2020


                                                                                                               $250.00                $0.00           $250.00




      Total:                                                                                                  $250.00                $0.00        $250.00

     Invoice Level Exceptions
     None


     Invoice Level Comment
     Allowable not exceeded




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Payment information

Requested Date          Check/ACH#                 Payment Date          Amount

03/06/2020                                         03/09/2020            $250.00

Category      Subcategory             Trans Code     Reason Code Caw Payee    Seq Code   Net Amount
                                                                 Code
Attorney Fees Plan Review Fee                                                            $250.00




    Excecution Date Time: 04/23/2020 01:14:21 PM                                                      Pages: 2/ 2
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                                                           Codilis & Associates, P.C.
                                                       15W030 North Frontage Road Suite 100
                                                                 Burr Ridge, IL 60527
PERSONAL INFORMATION REDACTED                                Phone No: (630) 794-9690
                                                              Fax No: (630) 794-5143



                                       Bankruptcy - Bankruptcy Services - INVOICE
   PHH Mortgage                                                        Invoice #:
   Andrea Jenkins                                                      Invoice Status:               ACH Confirmed(Exc)
   2001 Bishops Gate Blvd                                              Input By:                     Christina Delesio
   Mount Laurel, NJ 08054                                              Date Submitted:               3/12/2020
   Re:                   ADAMS RUBY J                                  Invoice Date:                 3/11/2020
                         121E 87TH ST
                                                                       Vendor Ref #:
                         CHICAGO, IL 60619 6624
                                                                       Vendor Code:
   Loan #:
   Loan Type:         FannieMae                                        Payee Code:                   FCODIL
   Inv. ID / Cat. ID:                                                  Type:                         Non Judicial
   Cost Center:                                                        Referral Date                 2/25/2020
   CONV-FN Case No:
   GSE Code:
                                                                       Acquisition Date:
   GSE REO Rem. Code:
                                                                       Paid in Full Date:            N/A
                                                                       Foreclosure Removal           N/A
   Original Mortgage Amount:     $66,000.00                            HiType                        1
   Litigation Status Code:                                             Class Code
   Man Code:
   BK Case No:           20-03841
   BK Chapter:           13




   Invoice ID:
   Asset Number:
   Outsourcer:

    SubmittedDate        1st Reviewed Date       Last Reviewed      Accepted Date          Approved Date     Chk Requested           Chk Confirmed
         3/12/2020            4/4/2020               4/4/2020                                4/4/2020           4/6/2020                4/8/2020

    Fee Description(s)                                    W/H Aff.Ind Item Date          Qty    Item Price       Orig. Billed        Adjust           Net

    Attorney Fees - Proof of Claim                                     03/11/2020         1       $700.00           $700.00           $0.00      $700.00

         Note: Proof of Claim Recoverable provided you file any required post-petition fee notice within 180 days of the charge being incurred
         in accordance with BK Rule 3002.1. - Recoverable from the borrower
         Service From Date: 3/11/2020                    Service To Date: 3/11/2020


    Attorney Fees - Bankruptcy Fee                                     03/11/2020         1       $250.00           $250.00           $0.00      $250.00

         Note: Loan Payment History as part of Official Form 410A.Recoverable provided you file any required post-petition fee notice within
         180 days per BK Rule 3002.1 - Recoverable from the borrower
         Service From Date: 3/11/2020                     Service To Date: 3/11/2020


                                                                                                              $950.00                $0.00           $950.00




    Total:                                                                                                   $950.00                $0.00        $950.00

    Invoice Level Exceptions
    Possible Duplicate Invoice


    Invoice Level Comment
    Allowable not exceeded

      Execution Date Time: 04/23/2020 01:14:21 PM                                                                             Pages: 1/ 2
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Payment information

Requested Date           Check/ACH#                Payment Date          Amount

04/06/2020                                         04/07/2020            $250.00

Category      Subcategory             Trans Code     Reason Code Caw Payee    Seq Code   Net Amount
                                                                 Code
Attorney Fees Bankruptcy Fee                                                             $250.00

Requested Date           Check/ACH#                Payment Date          Amount

04/06/2020                                         04/07/2020            $700.00

Category      Subcategory             Trans Code     Reason Code Caw Payee    Seq Code   Net Amount
                                                                 Code
Attorney Fees Proof of Claim                                                             $700.00




    Excecution Date Time: 04/23/2020 01:14:21 PM                                                      Pages: 2/ 2
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                                                      Document             Page 8 of 9
                                                           Codilis & Associates, P.C.
                                                       15W030 North Frontage Road Suite 100
                                                                 Burr Ridge, IL 60527
PERSONAL INFORMATION REDACTED
                                                             Phone No: (630) 794-9690
                                                               Fax No: (630) 794-5143



                                       Bankruptcy - Bankruptcy Services - INVOICE
   PHH Mortgage                                                        Invoice #:
   Andrea Jenkins                                                      Invoice Status:               ACH Confirmed(Exc)
   2001 Bishops Gate Blvd                                              Input By:                     Christina Delesio
   Mount Laurel, NJ 08054                                              Date Submitted:               3/19/2020
   Re:                   ADAMS RUBY J                                  Invoice Date:                 3/18/2020
                         121E 87TH ST
                                                                       Vendor Ref #:
                         CHICAGO, IL 60619 6624
                                                                       Vendor Code:
   Loan #:
   Loan Type:         FannieMae                                        Payee Code:                   FCODIL
   Inv. ID / Cat. ID:                                                  Type:                         Non Judicial
   Cost Center:                                                        Referral Date                 3/16/2020
   CONV-FN Case No:
   GSE Code:
                                                                       Acquisition Date:
   GSE REO Rem. Code:
                                                                       Paid in Full Date:            N/A
                                                                       Foreclosure Removal           N/A
   Original Mortgage Amount:     $66,000.00                            HiType                        1
   Litigation Status Code:                                             Class Code
   Man Code:
   BK Case No:           20-03841
   BK Chapter:           13




   Invoice ID:
   Asset Number:
   Outsourcer:

    SubmittedDate         1st Reviewed Date      Last Reviewed      Accepted Date          Approved Date     Chk Requested           Chk Confirmed
         3/19/2020            4/13/2020             4/22/2020                                4/13/2020         4/13/2020               4/15/2020

    Fee Description(s)                                    W/H Aff.Ind Item Date          Qty    Item Price       Orig. Billed        Adjust           Net

    Attorney Fees - Objection to Confirmation                          03/17/2020         1       $550.00           $550.00           $0.00      $550.00

         Note: Objection to confirmation of the Chapter 13 plan and attending confirmation, if not separately billed. Recoverable provided a
         PPFN is filed within 180 days of the charge incurred, per Rule 3002.1 - Recoverable from the borrower
         Service From Date: 3/17/2020                      Service To Date: 3/17/2020


                                                                                                              $550.00                $0.00           $550.00




    Total:                                                                                                   $550.00                $0.00        $550.00

    Invoice Level Exceptions
    Possible Duplicate Invoice


   Invoice Level Comment
   Allowable not exceeded




      Execution Date Time: 04/23/2020 01:14:21 PM                                                                             Pages: 1/ 2
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Payment information

Requested Date            Check/ACH#                   Payment Date          Amount

04/13/2020                                             04/14/2020            $550.00

Category      Subcategory                 Trans Code     Reason Code Caw Payee    Seq Code   Net Amount
                                                                     Code
Attorney Fees Objection to Confirmation                                                      $550.00




    Excecution Date Time: 04/23/2020 01:14:21 PM                                                          Pages: 2/ 2
